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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Alfred Albano, et al.,                  )      No. CV-07-2359-PHX-SMM
                                             )
10                                           )      (Consolidated Case CV-08-505-PHX-SMM)
              Plaintiffs,                    )
11                                           )      ORDER
     v.                                      )
12                                           )
                                             )
13   Shea Homes Limited Partnership, et al., )
                                             )
14                                           )
              Defendants.                    )
15                                           )
                                             )
16
17          Before the Court is a tangle of motions that seek to amend the complaint, dismiss
18   certain parties, and remand this matter to Superior Court for the alleged resulting lack of
19   diversity. The Court will strike these motions and permit the Plaintiffs to file a single
20   motion and proposed amended complaint that incorporates all desired changes and
21   amendments.
22          On November 28, 2007, this case was removed from Superior Court. (Dkt. 1,
23   Notice of Removal.) On January 2, 2008, Plaintiffs filed a “Motion to Remand to
24   Maricopa County Superior Court for Lack of Diversity” (“January 2 Motion”). (Dkt. 9)
25   Defendants opposed this motion. (Dkt. 15.) On January 30, 2008, Plaintiffs filed
26   “Plaintiffs’ Amended Motion for Leave to Amend Complaint to Name Proper Party –
27   And – Voluntary Dismissal of Presently Appearing Defendants – And – Motion to
28   Remand” (emphasis original) (“January 30 Motion”). (Dkt. 19.) Plaintiffs’ reply in
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 1   support of the January 2 Motion referred the Court to the January 30 Motion and stated
 2   that the January 30 Motion “replaces” the January 2 Motion.1 (Dkt. 22 at 3.) Plaintiffs
 3   then filed yet another motion to amend the complaint, “Plaintiffs’ Motion for Leave to
 4   File [Proposed] Second Amended Complaint,” that seeks to add two additional plaintiffs.
 5   (Dkt. 23.) Finally, Plaintiffs’ Reply in support of the January 30 Motion revived the
 6   arguments made in the January 2 Motion and denied that those arguments had been
 7   “abandoned.” (Dkt. 29 at 4-5.)
 8            A court is “not required to comb the record to find some reason to deny a motion
 9   for summary judgment.” Carmen v. San Francisco Unified Sch. Dist., 237 F.3d 1026,
10   1029 (9th Cir. 2001). Similarly, this Court will not comb through the docket report to
11   determine what arguments the parties are asserting, what arguments have been
12   “replaced,” and what arguments have been replaced but not “abandoned.” The Court will
13   strike the existing motions regarding remand and amended complaints. Plaintiffs shall be
14   permitted to file a single motion to amend the Complaint and remand this matter to
15   Superior Court. In briefing this motion, the parties shall not incorporate by reference any
16   prior arguments made in the stricken motions, or responses or replies thereto.
17            Accordingly,
18            IT IS HEREBY ORDERED striking Plaintiffs’ Motion to Remand (Dkt. 9).
19            IT IS FURTHER ORDERED striking Plaintiffs’ Amended Motion for Leave to
20   Amend Complaint to Name Proper Party – And – Voluntary Dismissal of Presently
21   Appearing Defendants – And – Motion to Remand (Dkt. 19).
22            IT IS FURTHER ORDERED striking Plaintiffs’ Motion for Leave to File
23   [Proposed] Second Amended Complaint (Dkt. 23).
24   //
25   //
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              1
27            To further confuse matters, the Reply refers to a motion filed January 29, 2008 as
     Plaintiffs’ reply. Yet that document was amended by the January 30 Motion. (See Dkts. 18,
28   19.)

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 1          IT IS FURTHER ORDERED granting Plaintiffs leave to file a single motion that
 2   encompasses all desired amendments to the complaint and reasons, if any, for remand of
 3   this matter to Superior Court.
 4          DATED this 1st day of May, 2008.
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